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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA

   JERRY MCKINNEY, SR.,                                  )
                                                         )
           Plaintiff,                                    )
                                                         )
           v.                                            )     Case No. 19-cv-01339-DDD-JPM
                                                         )
   RAPIDES PARISH SHERIFF’S OFFICE, et al.               )
                                                         )
           Defendants.                                   )
                                                         )

                Memorandum in Support of Plaintiff’s Motion for Summary Judgment

         Plaintiff Jerry McKinney, Sr. files this memorandum in support of his Motion for Summary

  Judgment.

         This case is about Deputy McKinney, a twenty-year veteran of the Rapides Parish Sheriff’s

  Office (RPSO), who suffered a stroke in late 2017. After his stroke, McKinney was able to return

  to work, but did not pass his firearm recertification. So RPSO moved him from the courthouse to

  the jail, and into a twelve-hour shift position that did not require firearm certification. Those

  twelve-hour shifts caused health problems for Deputy McKinney; his doctor recommended in a

  letter that his schedule be modified to eight-hour shifts.

         Deputy McKinney gave that letter to his supervisor, Warden Batiste, and requested a

  reasonable accommodation of eight-hour shifts. That was no problem – Warden Batiste moved

  McKinney to an eight-hour job in the kitchen, testifying that “it's really not hard” to grant that

  accommodation. McKinney worked a few shifts there, and caused no complaints or burden.

         But when RPSO higher-ups found out, things changed. RPSO ordered Deputy McKinney

  back to a twelve-hour position and told him that if he could not work twelve hours, he “should

  retire.” When McKinney declined to retire and asked to be put in any eight-hour position anywhere
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  in the sheriff’s office, RPSO fired him. They fired him five days before Christmas, after twenty

  years of service.

               Why did RPSO fire him? RPSO says it fired Deputy McKinney because he worked two

  eight-hour shifts – even though it concedes that he did so with the explicit permission of his direct

  supervisor. RPSO also initially claimed it had to fire McKinney because it had no eight-hour jobs

  available. RPSO now, under oath, concedes that that explanation was false – there were multiple

  eight-hour jobs available, in addition to the one McKinney was already working in.

               For RPSO to accommodate McKinney, all it had to do was nothing. It did not.

               To its credit, RPSO did not even try to disguise the fact that fired McKinney for asking for

  an accommodation. On December 17, 2018, McKinney wrote a letter with the subject line “RE:

  Request for Accommodation by Deputy Jerry McKinney.”1 Two days later, the Sheriff responded

  with a letter, subject line “RE: Request for Alternative Arrangement.” That letter fired McKinney.2

               All of this violates the Americans With Disabilities Act and Rehabilitation Act. RPSO

  concedes that it never engaged in an interactive process of seeking accommodation with

  McKinney. And it concedes that it fired McKinney for asking for and using the brief

  accommodation the Warden granted to him. Accordingly, liability is established.

               But in addition to knowing that the ADA was violated, it is helpful to understand why it

  was violated. As far as Plaintiff can tell, RPSO violated the ADA for two reasons.

               Number one, Sheriff Hilton and his staff do not appear to have even the most basic

  understanding of their obligations under the ADA. For example, RPSO claims that in twenty-four

  years, it has never received anything that it understood to be a request for reasonable

  accommodation – including McKinney’s letter that cited the ADA by name and said “this is a

  request for reasonable accommodation.”


  1
      Ex. J.
  2
      Ex. K.

                                                        2
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           And number two, Sheriff Hilton testified as to his basic antipathy regarding the concept of

  providing reasonable accommodations to employees with disabilities. Here is Sheriff Hilton’s

  testimony as to why Jerry McKinney couldn’t continue working the approved eight-hour:

           A.        It would have disrupted the operation of the department, and he would have created
                    a situation where other employees probably would have felt like Jerry was getting
                    special treatment, and you know, they just -- they don't like that, and they wouldn't
                    have treated him like any other employee. Everybody has to be treated the same,
                    and so that's how it is.

           Q.       Regardless of whether they're fully able[d] or disabled, everyone has to be treated
                    the same?

           A.       Yes.

           Q.       Okay. So you're not going to make special accommodations for -- for someone
                    with a disability? You want everyone to be treated the same?

           A.       Yes.3

           Thus, Sheriff Hilton did not have a problem with McKinney’s requested accommodation

  in particular. He had a problem with the fundamental idea of accommodation for disability. As he

  later testified: “any accommodation at all would have been an undue hardship.”4

           One more fact hammers home that this was discrimination on the basis of disability: RPSO

  concedes that it accommodated another employee with an eight-hour shift at the jail when they

  needed it for “family issues.”5 In sum:

           An employee with “family issues” asks for eight-hour shifts? RPSO accommodated that.

           But an employee with a disability asks for eight-hour shifts? RPSO fired that employee.



           Summary judgment should issue for Plaintiff.




  3
    Ex. A (30(b)(6) Deposition of Sheriff Hilton) at 109-110.
  4
    Id. at 114 to 115. Emphasis added. This was echoed by Major Hollingsworth, who explained that McKinney should
  not be allowed the doctor-ordered 8-hour shifts because “the doctors don't run the Sheriff's Department.” Ex. B at 47.
  5
    Ex P at RFA 62-63 (admitting that employee was assigned to eight-hour shifts at the jail “due to a family issue.”)

                                                            3
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                they did not want him to get “special treatment.”

         F.     The motion should be granted for ADA/RA retaliation because RPSO admits         26
                it fired Deputy McKinney for asking for and working the eight-hour shifts
                allowed by his supervisor, Warden Batiste.

         G.     Nothing has changed. If another deputy made the same requests for               29
                accommodation as Jerry McKinney, she would be treated the same way.
                                                                                                30
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  6
      Available online at https://www.dol.gov/agencies/odep/topics/accommodations .

                                                           5
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                                       I.        STATEMENT OF FACTS
  A.       The Rapides Parish Sheriff’s Office does not understand its obligations under the
           ADA/RA or attempt to comply with them.
           The Rapides Parish Sheriff’s Office is a public entity that employs approximately 600

  people.7 Despite its size, it does not comply with even the most basic federally-mandated

  requirements of the Americans With Disabilities Act or Rehabilitation Act (“ADA/RA”).

           For example, the ADA’s implementing regulations require that any “public entity that

  employs 50 or more persons shall designate at least one employee to coordinate its efforts to

  comply with and carry out its responsibilities.”8 RPSO does not, however, have an ADA

  coordinator or any person designated to coordinate its ADA responsibilities.9 Similarly, ADA

  regulations also require that any “public entity that employs 50 or more persons shall adopt and

  publish grievance procedures” for ADA complaints.10 But RPSO has not adopted or published

  “any grievance procedures related to ADA issues.”11

           RPSO conducts no in-office formal training on the ADA.12 RPSO does have a written

  ADA/RA policy, but it is three sentences long and provides no detail.13 By contrast, the RPSO

  “Personal Appearance” policy is eighty-three sentences long, and details the buttoning of buttons,

  whether deputies may wear necklaces, and specifies that the “thickness of the hair on the side

  above the ear . . . shall not exceed ½ inch.”14




  7
    Ex. A (30(b)(6) Deposition of RPSO) at 40 (“We have 600 employees.”)
  8
    29 C.F.R. § 35.107 (a).
  9
    Ex. A at 36 (“Q. Okay. Does the Sheriff's Office have an ADA coordinator? A. No.
  . . . Q. Okay. So it's fair to say the Sheriff's Office does not have a particular person who's designated to coordinate
  efforts to comply with the ADA? A. That's correct, yes.”_
  10
     29 C.F.R. § 35.107 (b).
  11
     Ex. A at 36-37. (“Q. Okay. Has the Sheriff's Office adopted and published any grievance procedures related to ADA
  issues? A. Not to my knowledge.”)
  12
     Ex. N at Response to RFP No. 40 (“the Sheriff does not have in-office formal training on the ADA.”); Ex. T at (“Q.
  Do you recall ever attending any ADA training at the Rapides Parish Sheriff's Office? A. I can't recall any.”)
  13
     Ex. C (RPSO Manual) at 36.
  14
     Id. at 19-24.

                                                             6
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           RPSO was led by Sheriff Hilton for 24 years. He contends that “no one has ever asked for

  accommodation for ADA in all my years here.”15 Nor was Sheriff Hilton aware that RPSO had an

  ADA policy.16 But he testified that if RPSO did receive a request for accommodation, it “would

  be investigated through Internal Affairs,” rather than through Human Resources.17 (Internal Affairs

  is the department that “investigates complaints about deputies or misconduct by deputies.” 18)

  Sheriff Hilton described an employee asking for a reasonable accommodation as a “complainer

  asking for a different job other than what he was assigned to.”19 Although he concedes RPSO has

  had employees with disabilities, he testified that never once did RPSO engage in an “interactive

  process of determining whether they needed accommodations.”20

           How could an employer of approximately 600 people possibly claim it has never received

  a request for accommodation? First, RPSO does not have a form that that deputies can fill out to

  request an accommodation.21 And RPSO takes the position that if an employee turns in “a doctor’s

  note that describes recommended restrictions on a deputy's work, if it doesn't say, ‘request for

  accommodation,’ it's not understood by the Sheriff's Office to be a request for accommodation.”22

  But the reality is even worse: Jerry McKinney submitted a letter saying “as a person with a

  disability under the Americans with Disabilities Act, I am requesting reasonable

  accommodation,”23 and even that was not understood to be a request for accommodation.24


  15
     Ex. A at 49. See also Ex. M at RFA 49-50 (admitting that “Neither Sheriff Hilton nor the RPSO has received any
  request . . . which was contemporaneously understood as a request for accommodation under the ADA” in the last
  fifteen years); Ex. M at 51 (admitting that during his twenty-four year tenure, “Sheriff Hilton has never received any
  request . . . which was contemporaneously understood as a request for accommodation under the ADA.”)
  16
     Id. at 38-40 (“Q. Okay. Does the Sheriff's Office have any policies related to the ADA? A. I can't answer that. I
  don't know.”)
  17
     Id. at 39.
  18
     Id. at 39-40.
  19
     Id. at 40 (emphasis added).
  20
     Id. at 46.
  21
     Id. at 42: (“Q. Okay. Does the Sheriff's office have a form that deputies can fill out to request an accommodation
  under the ADA? A. No.”)
  22
     Id. at 41.
  23
     Id. at 67.
  24
      Sheriff Hilton has testified both that he did and did not understand McKinney to be making a request for
  accommodation at the time Hilton received his letters. He repeatedly changed his testimony between these positions.

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             To summarize: RPSO

                  •   Does not have an ADA coordinator;

                  •   Does not conduct any ADA training;

                  •   Does not have an ADA grievance process;

                  •   Does not have a form for requesting accommodations;

                  •   Does not recognize doctor’s notes as requests for accommodation;

                  •   Does not engage in an interactive process of seeking accommodation;

                  •   Identifies requesters as “complainers”; and

                  •   Would route any requests for accommodation through the Internal Affairs
                      department – if it ever received one.

             It therefore is not surprising that in Sheriff Hilton’s twenty-four years as sheriff, RPSO

  never, ever provided an accommodation to an employee with a disability:




                                                                                                             25




  First, Sheriff Hilton testified that at the time, he did not understand Deputy McKinney to be making a request for
  accommodation. Ex. A at 49-50 (“Q. Okay. So at the time, you did not consider Jerry McKinney to be an ADA issue.
  Is that correct? A. That's correct. . . . I did not take it as a request for an ADA consideration.”); id. at 67 (“Q. Yeah,
  and so you testified earlier that you -- you didn't understand Mr. McKinney at the time to be making a request for
  reasonable accommodation, right? A. Yes. Q. But you read this letter, correct? A. Yes.”)

  Later, Sheriff McKinney flipped, testifying that at the time, he did understand it to be a request for accommodation.
  Id. at 71 (“Q. . Okay. So you're saying that at the time you understood Mr. McKinney's letter to be a request for
  accommodation under the Americans With Disabilities Act; yes? A. I can answer that yes.”)

  Still later, he flipped back. Id. at 75 (“Q. Okay. So that gets me back to now that we've established that at the time
  you did not understand Mr. McKinney's letters to be a request for reasonable accommodation under the ADA, right?
  A. Yes.”)

  Then, one page later, he flipped back again. Id. at 76 (“Our line of transferring Jerry McKinney to DC-3 was complying
  with his request for Americans with Disabilities Act.”).
  25
       Ex. A at 46.

                                                              8
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           Similarly, with regard to members of the public, Sheriff Hilton testified that “The

  courthouse is accessible to people -- for people with disabilities, and that’s as far as we go. We

  haven't made any special accommodations to accommodate anybody with a disability.”26 RPSO

  provides no training or policies for its deputies interacting with persons with disabilities.27

           This is the backdrop against which Jerry McKinney’s request for accommodation was

  received.

  B.       The Rapides Parish Sheriff’s Office understood that Jerry McKinney was a person
           with a disability, received his doctor’s recommendation for eight-hour shifts, and then
           fired him instead of accommodating him.
           Jerry McKinney began his career as a Ranger in the United States Army. He served in the

  infantry, military police, and in an administrative capacity as a Personnel Specialist.

           In 1998, after returning to civilian life, Deputy McKinney was hired by RPSO as a

  Correctional Officer.28 In 2009, he was he was transferred from Corrections to Courtroom

  Security.29

           According to the RPSO’s 30(b)(6) witness, Mr. McKinney “had a clean record, no

  problems.”30 He “was hard working, reliable, people liked him.”31 According to his direct

  supervisor, Warden Batiste, Jerry McKinney “was always at work way before it was time for work

  to start. He always did his job beyond call of duty. . . He was an outstanding worker. Everybody

  knew it.”32 Even Sheriff Hilton could not “say anything negative about his work abilities and his




  26
     Ex. A (30(b)(6) Dep.) at 48.
  27
     Id. at 48.
  28
     Id. at 55.
  29
     Id. at 56.
  30
     Id. at 61 (“Q. Yeah. So for the last more than decade of his -- of his career with the Sheriff's Office, he had a clean
  record, no problems, correct? A. Yes.”)
  31
     Id. at 61 (“Q. He was hard working, reliable, people liked him? A. Very personable. Yes, he was good, yes.”)
  32
     Ex. B (Dep. of Warden Batiste) at 23-25.

                                                              9
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   work performance.”33 According to Sheriff Hilton and Major Hollingsworth, McKinney “served

   [RPSO] and this community well for over 20 years.”34

           In November 2017, Deputy McKinney had a stroke.35 He went on medical leave through

   February 2018,36 and then returned to work at the courthouse. Even after his stroke he was “still

   reliable and hard working.”37 But the stroke left Mr. McKinney with physical and mental

   impairments. According to a RPSO report, Deputy McKinney “was having difficulty with simple

   motor skills such as walking, balance, comprehension, and also appeared to be generally fatigued.

   . . . His speech was slurred, and he was stuttering.”38 As a result, in the fall of 2018, Deputy

   McKinney failed his firearm recertification process. According to RPSO, that was “[b]ecause he

   was impaired from the stroke he had had the year before.”39

           This caused McKinney to lose his POST certification. But according to RPSO, generally,

   “losing POST certification is not a reason to terminate an employee.”40 And so on November 12,

   2018, Deputy McKinney was transferred to the jail41 because “in Corrections it's not required that

   the deputy be firearm certified and carry a gun.”42

           At that time, Warden Antoine Batiste was in charge of the jail facility Deputy McKinney

   was transferred to.43 Batiste was the “Chief Executive Officer”44 of the jail, and so was responsible




   33
      Ex. A at 62 (“I can't say anything negative about his work abilities and his work performance.”)
   34
      Ex. I (Letter from Sheriff Hilton); Ex. T (Dep. of Major Hollingsworth) at 67.
   35
      Ex. A at 56-57.
   36
      Ex. A at 57.
   37
      Ex. B at 25-26.
   38
      Ex. D.
   39
      Ex. A at 57
   40
      Ex. A at 196. (“Q. So generally losing POST certification is not a reason to terminate an employee, correct? A.
   No.”)
   41
      Ex. F (Transfer Memorandum)
   42
      Ex. A at 58.
   43
      Ex. A at 59.
   44
      Ex. U at 4 (Organization Chart for RPSO Corrections)

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   for “formulat[ing] necessary policies and procedures”45 and being “responsible for the day-to-day

   management of that facility.”46 Batiste was “[r]esponsible for all phases of operation” at the jail.47

            At the jail, most deputies worked twelve-hour shifts. Twelve-hour shifts are not “something

   inherent to the job” or “integral to the nature of corrections.”48 It is “for the convenience and benefit

   of the employees.”49 Some other jobs at the jail work on eight-hour shifts, such as three jobs in the

   kitchen and about six to eight jobs in the administrative office.50 Outside of the jail, there are also

   “a couple hundred jobs at the Sheriff’s Office that do not require [firearm] certification and are

   eight-hour shifts.”51

            The twelve-hour shifts were too long for McKinney, given his medical issues. In a letter of

   November 28, 2018, his doctor recommended that McKinney “is to work 8 hours a day because I

   do not want his stress level to go up and cause elevated blood pressure with repeat stroke,

   especially a hemorrhagic stroke.”52

            Jerry McKinney gave the doctor’s letter to his supervisor, Warden Batiste.53 Warden

   Batiste understood that the “letter was requesting accommodation for Jerry because of a

   disability.”54 Accordingly, Warden Batiste assigned Mr. McKinney to work in the jail’s kitchen, a




   45
      Id.
   46
      Ex. A at 59.
   47
      Ex. U at 4 (Organization Chart for RPSO Corrections)
   48
      Ex. A at 60.
   49
      Ex. A at 60.
   50
      Ex. B (Batiste Dep.) at 19-20, 38-39. Ex S (Dep. of Jacqueline Mitchell, current RPSO employee) at 27 (“Q. Okay.
   So do you know if they have eight-hour shift positions in DC-2 or DC-3 for corrections officers? A. In the kitchen,
   yes, they do.”); See also Ex. T at 136 (“Q. So there's at least nine or ten either positions or departments [in corrections]
   that employ 8-hour employees, correct? A. Yes.”)
   51
      Ex. A at 159.
   52
      Ex. E (November 27, 2018 Doctor’s Letter).
   53
      Ex. B at 32.
   54
      Ex. B at 33 (“Q. Okay, and so when you read this letter, is it fair to say that you understood that this letter was
   requesting accommodation for Jerry because of a disability? A. Yes.”)

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   position that only required eight-hour shifts.55 He made that assignment as an accommodation for

   Mr. McKinney’s disability.56

           McKinney worked approximately two eight-hour shifts in the kitchen.57 This caused no

   problems – Warden Batiste testified that there were no complaints about McKinney’s performance

   and no complaints from other employees.58 Warden Batiste said he had no “problems at all as the

   Warden with Jerry McKinney doing the eight-hour shift in the kitchen.”59

           But then the RPSO higher-ups found out about McKinney being accommodated.60

           At 10:12 a.m. on November 29, 2018, Major Hollingsworth first reviewed McKinney’s

   doctor’s letter.   61
                           At 10:28 a.m, Hollingsworth forwarded the letter to Deputy Chief Debbie

   McBeth and conferred with her about it.62 At 10:49 a.m. Hollingsworth sent a signed letter

   responding to McKinney’s request.63 That letter stated that eight-hour shifts are “not in

   [McKinney’s] job description” and advised that his “job description is working a 12 hour shift

   with offenders and if you cannot do this, my suggestion is to retire.”64




   55
      Ex. B at 33 (“Q. Okay, and so based on receiving this doctor's letter from Jerry, is that why you assigned him to
   work for Lou Howard in the kitchen? A. Yes.”)
   56
      Ex. B at 33-34 (“Q. Okay, and you approved that accommodation as the Warden of the jail, correct? A. That's
   correct. Q. Okay.”)
   57
      Ex. A at 142.
   58
      Ex. B at 42.
   59
      Ex. B at 42.
   60
      Ex. B at 28 (“Hollingsworth and Commander Saucier saw him in the front office in the administrative office and
   asked him what he was doing, and he told them that he was assigned to the kitchen.”)
   61
      Ex. T (Dep. of Major Hollingsworth) at 38.
   62
      Ex. T at 40.
   63
      Ex. T at 40.
   64
      Ex. G. Emphasis added.

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                              Figure 1, Excerpt of Major Hollingsworth Response Letter

   (According to Warden Batiste, RPSO sends these “we suggest you resign” letters when “the

   Sheriff's Office basically wants the person gone.”65)

            Thus, there were only twenty-one minutes during which Major Hollingsworth and Deputy

   Chief McBeth conferred and formulated a response to McKinney. Major Hollingsworth testified

   that he spent fourteen or fifteen of the twenty-one minutes “reading the letter and preparing a

   response.”66 That left only five or six minutes in which Hollingsworth might have been “talking to

   the administration to try and see if there were any openings or, you know, if there was anywhere

   that Mr. McKinney could be placed.”67

            On December 5, 2018, Deputy McKinney responded with a letter explaining that as “a

   person with a disability under the Americans With Disabilities Act (ADA). I am requesting

   reasonable accommodation to allow me to perform my job duties. . . I would like to change my

   location and work schedule so that I can work eight (8) hours per day and not the twelve (12) I am

   currently assigned.”68 He attached a copy of the doctor’s letter recommending eight hours.




   65
      Ex. B at 64.
   66
      Ex. T at 43.
   67
      See Ex. T (Q. So what you were doing in that five or six minutes is talking to the administration to try and see if
   there were any openings or, you know, if there was anywhere that Mr. McKinney could be placed; is that right? A.
   Yeah. I tell you that I don't remember anything.”)
   68
      Ex. H (Dec. 5, 2018 Letter from McKinney).

                                                             13
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            On December 10, 2018, Sheriff Hilton sent a letter to Deputy McKinney in response to his

   request for an alternative job assignment. Sheriff Hilton claimed there were no other positions

   available, and reiterated that “we feel it is time for you to retire.”69




                              Figure 2, Excerpt of Sheriff Hilton’s Response Letter

            On December 17, 2018, McKinney responded, clarifying that he was asking to “work in

   any other section of the sheriff’s office which may have eight hour shift.” He concluded that “I do

   not want to retire at this time and feel that I can continue my career at the sheriff’s office very

   successfully.”70

            Two days later, on December 19, 2018, Sheriff Hilton responded by firing McKinney

   “effective immediately.”71 The termination was explicitly a response to Deputy McKinney’s

   request for reasonable accommodation, as indicated by the subject line of the Sheriff’s letter: “RE:

   Request for Alternative Arrangement.”72

            After two decades of service and loyalty to Rapides Parish, Deputy McKinney was fired

   five days before Christmas. This hurt Deputy McKinney deeply.73




   69
      Ex. I (Dec. 10, 2018 Letter from Hilton).
   70
      Ex. J (Dec. 17, 2018 Letter from McKinney)
   71
      Ex. K (Dec. 19, 2018 Termination Letter).
   72
      Ex. K (Dec. 19, 2018 Termination Letter).
   73
      Ex. B (Dep. of Warden Batiste) (“Kind of like I said, he teared up, kind of shook his head, and you could tell that
   he was hurt because he was dedicated to his job at the Sheriff's Department, whatever assignment they gave him. He
   -- he was dedicated to do it, and he thanked me for the things that I had done for him on his way out the door. He was
   very, very upset.”)

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            On October 11, 2019, Deputy McKinney filed this lawsuit, alleging violations of the

   Americans With Disabilities Act, the Rehabilitation Act, the Louisiana Employment

   Discrimination Law, and Breach of the Implied Covenant of Good Faith and Fair Dealing.74

                                                  II.      ANALYSIS

   A.       The Americans With Disabilities Act and Rehabilitation Act require an interactive
            process of seeking accommodation, forbid the failure to provide employees with
            reasonable accommodations, and make retaliation illegal.
            The Americans With Disabilities Act makes discrimination on the basis of disability illegal.

   Such discrimination is defined to include a failure to make a reasonable accommodation for an

   employee with a disability.75 In order to achieve such accommodations, the ADA obligates an

   employer to engage in an interactive process with an employee to identify limitations and generate

   potential solutions.76 And to protect employees who engage in this process, the ADA prohibits

   retaliation and interference for seeking or using reasonable accommodations.77

            The Rehabilitation Act (“RA”) similarly protects qualified individuals from discrimination

   on the basis of disability by entities receiving financial assistance from the federal government. 29

   U.S.C. § 794 et seq. The same prima facie case can be made by a disabled plaintiff under both

   acts,78 and courts often analyze the two statutes together “because there is no significant difference

   in the analysis of rights and obligations created by the two Acts.”79

   B.       Deputy McKinney was a qualified individual under the ADA/RA.
            Under the ADA/RA, a person may be a qualified individual with a disability by meeting

   any one of three different tests: (1) having a “record of” the disability; (2) being “regarded as”




   74
      R. Doc. 1 (Complaint).
   75
      42 U.S.C. § 12112(b)(5)(A); 29 C.F.R. § 1630.9.
   76
      29 C.F.R. § 1630.2(o)(3).
   77
      42 U.S.C. § 12203(a); 28 U.S.C § 35.134 (Retaliation & Coercion).
   78
      Zukle v. Regents of Univ. of Cal., 166 F.3d 1041, 1045 (9th Cir. 1999).
   79
      Vinson v. Thomas, 288 F.3d 1145, 1152 n.7 (9th Cir. 2002).

                                                            15
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   having a disability; or (3) or having an “impairment that substantially limits one or more major life

   activities.”80 Here, Deputy McKinney meets all three tests, although he need only meet one.

           First, Defendants concede they had a “record of” Deputy McKinney’s disability.

   Specifically, a RPSO employee wrote a report detailing his observations that Deputy McKinney

   “was having difficulty with simple motor skills such as walking, balance, comprehension, and also

   appeared to be generally fatigued. . . . His speech was slurred, and he was stuttering.”81 RPSO’s

   30(b)(6) witness reviewed that report and testified that:




                                                                                                    82



           Second, RPSO “regarded” McKinney as a person with a disability. The standard for this

   test is lower than the others. For “regarded-as” protections under the ADA, no “disability” is

   required – only the much-easier-to-establish “impairment.” 42 US.C. § 12102(1)(C); (3)(A)

   (regarded-as protections apply “whether or not the impairment limits or is perceived to limit a

   major life activity.”) Here, RPSO concedes that McKinney was impaired; its 30(b)(6) witness

   testified that “he was impaired from the stroke he had had the year before.”83 They also regarded

   him as so impaired that they repeatedly told him “we feel it is time for you to retire.”84

           Third, McKinney also meets the test of being a person with an “impairment that

   substantially limits one or more major life activities.” After 2008, the threshold for finding such



   80
      42 U.S.C. § 12102(1); 29 C.F.R. § 1630.2(g).
   81
      Ex. D (May 7, 2019 Incident Report).
   82
      Ex. A at 53-54.
   83
      Ex. A at 57.
   84
      Ex. G (Nov. 29, 2018 Letter from Hollingsworth); Ex. I (Dec. 10, 2018 Letter from Sheriff Hilton).

                                                           16
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   an impairment is very low. That year, Congress passed the ADA Amendments Act of 2008, which

   established that “the question of whether an individual’s impairment is a disability under the ADA

   should not demand extensive analysis.”85 Here, McKinney’s doctor assessed that he had “multiple

   neurological and medical conditions”86 and was sufficiently impaired as to restrict the hours of his

   working, and to avoid loud noises.87 McKinney’s impairment caused him obvious difficulty with

   walking, speaking, and communicating,88 all of which are “major life activities” explicitly included

   in the text of the ADA.89

            Because he meets all three tests, McKinney is a qualified person with a disability under the

   ADA/RA.

   C.       Jerry McKinney requested a reasonable accommodation of eight-hour shifts.

            The ADA/RA defines “reasonable accommodation” to explicitly include “job

   restructuring, part-time or modified work schedules, [and] reassignment to a vacant position.”90

            As described above, after Jerry failed the firearm recertification due to the effects of his

   stroke, RPSO moved him from the courthouse to the jail.

            At the jail, Jerry was put in a job with twelve-hour shifts. The twelve-hour shifts were not

   “something inherent to the job” or “integral to the nature of corrections,” according to RPSO’s




   85
      ADA Amendments Act of 2008, PL 110-325, § 2(b)(5) (emphasis added). For this reason, case law pre-dating the
   ADA Amendments Act of 2008 (ADAAA) generally should not be relied upon in determining impairment, because
   the 2008 amendments were enacted to lower the standard of functional limitation necessary to show that a person is
   impaired. Molina v. D.S.I. Renal, Inc., 11-cv-00028, R. Doc. 17. (W.D. Tex., May 24, 2012), citing 29 CFR §
   1630.2(j)(1)(iv).
   86
      Ex. O (July 31, 2018 Letter of Dr. M. Riad Hajumurad) (noting that as of July 2018, he “has not been able to function
   on full active condition.”)
   87
      Ex. E (Nov. 27, 2018 Letter of Dr. M. Riad Hajumurad).
   88
      Ex. D (May 7, 2019 Incident Report).
   89
      42 U.S.C. 12102(2)(A). Cf. Swanson v. Village of Flossmoor, 794 F.3d 820, 827 (7th Cir. 2015) (finding that an
   officer who, after suffering a stroke, was required by a doctor to work part-time as requiring this reasonable
   accommodation under the ADA). See also Rodriguez Diaz v. Big K-Mart, 582 F.Supp.2d 147, 153 (D.P.R. 2008)
   (finding complaint sufficiently alleged disability discrimination under the ADA, where plaintiff’s disability allegation
   was that she suffered post-stroke impairments that substantially limited major life activities by causing increased pain
   and longer time to complete tasks than the average person).
   90
      42 U.S.C. 12111(9); 29 C.F.R. § 1630.2(o)(2).

                                                             17
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   30(b)(6) witness.91 They are “for the convenience and benefit of the employees,”92 because it

   “gives the employee a little time off. It's a lot of hours on the front end, but he gets a lot of time

   off on the back end, and employees like that.”93

              The shifts were not a benefit for Jerry, however. Due to his disability, the long shifts

   exacerbated some of his health issues, including his blood pressure. So his doctor recommended

   his schedule be modified to allow eight-hour shifts.

              In his letters of December 5 and 17, 2020, Jerry McKinney requested to be put in a position

   with eight-hour shifts. This was a reasonable request, as RPSO had in the past been “able to

   accommodate eight-hour shifts for people who needed that for family reasons.”94 At least one staff

   member was accommodated with an eight-hour shift in the jail’s kitchen to accommodate the need

   to care for a sick parent,95 and another was accommodated with an eight-hour shift in the jail




   91
        Ex. A at 60:

              Q. Okay. So it's not something inherent to the job, like, I don't know, like, you have to get flown
              somewhere, and the flights only go every 12 hours or something. It's -- it's for administrative
              convenience and the benefit of the employee, but it's not something integral to the nature of
              corrections. Is that correct?
                       MR. RICHARDSON: Object to the form.
              Q. What was your answer, Sheriff?
              A. Yes.
   92
     Ex. A at 60.
   93
     Id. at 59. Sheriff Hilton testified that although the twelve-hour shifts were not integral to the work, he would not
   modify them because “It's like being in the military. It's a ritual. You do everything on time. You do it exactly the
   same every day, and we couldn't make an . . . exception for Jerry.” Ex. at 108.

   But this is exactly the kind of rigidity that the ADA forbids: “The reasonable accommodation requirement is best
   understood as a means by which barriers to the equal employment opportunity of an individual with a disability are
   removed or alleviated. These barriers may be . . . rigid work schedules that permit no flexibility as to when work is
   performed or when breaks may be taken.” 29 C.F.R., Appendix to Part 1630. Interpretive Guidance on Title I of the
   Americans With Disabilities Act. (Emphasis added.)
   94
     Ex. B (Dep. of Warden Batiste) at 36.
   95
     Id. at 34-35 (Bobbie Duncan was accommodated with an eight-hour shift at the jail for more than a year); Ex. P at
   Response to RFA 62 (Admitting that “Bobbie Duncan was assigned to eight-hour shifts due to a family issue.”); Ex.
   S at 20-21 (“She stayed in the jail, but they allowed her to work eight hours.”)

                                                              18
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   kitchen for an injury.96 There had even been another deputy with a stroke who “got an eight-hour

   shift to work.”97

            After receiving Jerry McKinney’s request for eight-hour shifts, Warden Batiste approved

   him to work eight-hour shifts in the jail’s kitchen. This did not require creating a new position,

   because there was already available work for him in the kitchen.98

            McKinney worked a few of these shifts, and Batiste testified that it did not cause any

   problems at the jail:




                                                                                                         99


            As a result, we do not have to speculate about whether a plaintiff’s requested

   accommodation would have been reasonable. Here, it was implemented for a short time, and



   96
      Ex. B at 40; see Ex. P at RFA 59-60 (admitting that Lou Howard was assigned to eight hour shifts in the jail kitchen,
   but denying it was an accommodation).
   97
      Ex. S (Deposition of current RPSO employee Jacqueline Mitchell) at 19-20.
   98
      Ex. B (Dep. of Warden Batiste) at 46-47 (“Q. Okay, and you would agree with me that they didn't have to make a
   position for Jerry because the folks working in the kitchen already did work eight-hour shifts. Is that fair to say? A.
   Yes. Q. Okay, and that's the position that you gave Jerry? A. Yes.”)
   99
      Id. at 42.

                                                             19
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   caused no problems or undue burden. Warden Batiste testified that it was “really not hard to do.”100

   We know based on actual observation that the requested accommodation was reasonable.

            Even if Jerry McKinney could not have continued working in that jail kitchen position for

   some reason, RPSO had a range of other eight-hour-shift jobs that similarly did not require firearm

   certification. RPSO testified that “several hundred” of the RPSO’s six hundred jobs met that

   criteria,101 and RPSO records show that at least several of them were open and unfilled in

   December 2018.102

            Thus, because McKinney was asking for an accommodation explicitly included in the text

   of the ADA – a “part-time or modified work schedule” – and because observation shows that it

   caused no problems or undue burden, it is established that he was requesting a reasonable

   accommodation.

   D.       The motion should be granted because RPSO violated the ADA/RA by failing to
            engage in an interactive process of seeking accommodation with Deputy McKinney.
            Under the ADA/RA, an employer is obligated to engage in an interactive process with the

   employee that identifies the precise limitations resulting from the disability and potential

   reasonable accommodations that could overcome those limitations.103 This interactive process is

   mandatory.104 And if the plaintiff makes a prima facie showing that he proposed a reasonable




   100
       Ex. B at 61.
   101
       Ex. A at 159 (There are approximately “a couple hundred jobs at the Sheriff’s Office that do not require [firearm]
   certification and are eight-hour shifts.”)
   102
       Id. at 168 to 187 (detailing an opening for an accountant in the finance department, a part-time assistant role in the
   finance department, a jail records position, a road crew relief driver position, and a booking officer position) RPSO
   conceded that “there were at least some positions that Jerry could have been qualified for,” but was not offered. Ex.
   A at 185. RPSO conceded that their prior explanation – that “there were no vacant positions” – was “not true.” Ex. A
   at 186 to 187. See also Ex. T at 110 (jail records position opened in November 2018, not filled until Dec. 6, 2018).
   103
       29 C.F.R. § 1630.2(o)(3).
   104
       Stokes v. Nielsen, 751 Fed.Appx. 451, 455 (5th Cir. Oct. 8, 2018). See also EEOC v. Chevron Phillips Chem. Co.,
   570 F.3d 606, 621 (5th Cir. 2009) (finding that once an employee’s need for accommodation under the ADA is
   “known” to the employer, it then is obligated to commence an “interactive process” – a “meaningful dialogue with
   the employee to find the best means of accommodating that disability.”)

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   accommodation, the failure to engage in an interactive process of seeking accommodation is itself

   an independent violation of federal law.105

            Here, the first element of a no-interactive-process claim is met because Jerry McKinney

   has made a prima facie showing of a reasonable accommodation. As described in the previous

   section, his request for eight-hour shifts was (1) an accommodation Warden Batiste implemented

   without trouble or burden; (2) something RPSO had provided to other jail employees; (3) not in

   conflict with the “integral nature” of jail work, and (4) something that could have been

   accommodated by moving him to one of the open eight-hour shift jobs in other departments.

            The second element of a no-interactive-process claim is met because RPSO agrees it never

   engaged in an interactive process of seeking accommodation with McKinney.




                                                                                                     106




   105
       Hacker v. Cain, 14-cv-00063 at *25-26, 2016 U.S. Dist. LEXIS 73014, 2016 WL 3167176 (M.D. La. June 6, 2016)
   (failure to engage in interactive process is “an independent violation of the ADA” if “the plaintiff establishes a prima
   facie showing that he proposed a reasonable accommodation.”), citing Rorrer v. City of Stow, 743 F.3d 1025, 1041
   (6th Cir. 2014). See also Jenkins v. Cleco Power, LLC, 487 F. 3d 309 (5th Cir. 2007) (“When an employer's
   unwillingness to engage in a good faith interactive process leads to a failure to reasonably accommodate an employee,
   the employer violates the ADA.”), citing Beck v. Univ. of Wisc. Bd. of Regents, 75 F.3d 1130, 1135 (7th Cir.1996)
   (failure to communicate indicates bad faith).
   106
       Ex. A at 99. See also Ex T (Dep. of Major Hollingsworth) at 53 (“Q. So you definitely didn't talk to him when you
   got the November 27th letter to talk about possible ways that his request could be accommodated, right? A. No. That
   doesn't fall under -- that would be strictly the Sheriff.”); id. at 56 (“Q. So when you received the letter from Mr.
   McKinney from his doctor on November 29th knowing that what he was asking could only be approved by the Sheriff,
   did you talk to the Sheriff about the letter or any possible accommodations? A. No.”)

                                                             21
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              That failure to engage was not unusual. In the twenty-four years Sheriff Hilton was in

   charge, RPSO never once engaged in an interactive process of seeking accommodation:




                                                                                                      107


              Nothing more is needed. Because McKinney made a prima facie showing of a request for

   reasonable accommodation, and because there was no interactive process, he has established

   liability under the ADA/RA against RPSO.

              The lack of any meaningful interactive process is highlighted by the fact that Major

   Hollingsworth spent no more than six minutes during which he may have attempted to find another

   role for McKinney before sending a letter denying his doctor-recommended accommodation and

   telling him to retire.108 Summary judgment should issue.

   E.         The motion should be granted because RPSO violated the ADA/RA by taking a
              reasonable accommodation away from Deputy McKinney because they did not want
              him to get “special treatment.”
              The ADA/RA makes it illegal for an employer to deny a reasonable accommodation to an

   employee with a disability.109 As described above, Deputy McKinney asked for a reasonable




   107
         Ex. A at 46.
   108
         Ex. T at 45 (Dep. of Major Hollingsworth) (“Q. So what you were doing in that five or six minutes is talking to
   the
   administration to try and see if there were any openings or, you know, if there was anywhere that Mr. McKinney
   could be placed; is that right? A. Yeah. I tell you that I don't remember anything.”)
   109
       42 U.S.C. § 12112(b)(5)(A); 29 C.F.R. § 1630.9.

                                                              22
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   accommodation of working eight-hour shifts, rather than twelve-hour shifts. For a brief moment,

   McKinney was accommodated, when Warden Batiste allowed McKinney to work eight-hour shifts

   in the kitchen without any problem.110

             All RPSO had to do to accommodate McKinney was to do nothing.

             But RPSO did not do nothing. It put a stop to the accommodation Batiste approved.

             Major Hollingsworth told Warden Batiste that “if Jerry couldn't work 12 hours that he

   couldn't work at all.”111 Sheriff Hilton told Jerry McKinney that RPSO did not have eight-hour

   shifts for correction officers, and so “we feel it is time for you to retire.”112 The Sheriff repeatedly

   used the excuse that there were no eight-hour jobs available:

         •   “So that’s --- that’s the bottom line. There was nowhere to transfer him to on an
             eight-hour job.”113

         •   “There were no more openings or vacancies anywhere that would fit what he was
             asking for.”114

         •   “I've answered this two or three times today. There was no other place for Jerry.”115

             When Sheriff Hilton says he had “no more openings or vacancies anywhere,” he means he

   “looked at the December2018 rosters to see if there were any job positions open.”116 Unfortunately

   for Sheriff Hilton, Plaintiff obtained a copy of those December 2018 rosters.

             What do those rosters show? They show that there were eight-hour, no-firearm-

   certification-required jobs open. There was an opening for an accountant in the finance



   110
       See also Ex. S (Dep. of Jacqueline Mitchell) at 46 (“Q. Based on your almost 15 years of experience working in
   Corrections in the Sheriff's Office, it's your opinion that Mr. McKinney could have continued working doing eight-
   hour shifts? A. Correct.”)
   111
       Ex. B at 45.
   112
       Ex. I.
   113
       Ex. A (30(b)(6) Dep.) at 66.
   114
       Id. at 77.
   115
       Id. at 107
   116
       Id. at 97 (“Q. Okay. So when you say, "do all you can do," he asked for eight-hour shifts, and what you did is you
   looked at the December 2018 rosters to see if there were any job positions open? A. Correct.”); id. at 140 (“Q. Okay,
   and you finally did get a request for accommodation from him in December of 2018, correct? A. Yes. Q. And you
   looked at that month's roster to see if there were any other positions? A. Yes. Q. But you did not wait several months
   to see if over the course of several months something opened up, correct? A. Yes.”)

                                                            23
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   department.117 There was a part-time assistant role open in the finance department.118 There was a

   jail records position open.119 There was a road crew relief driver position open.120 There was a

   booking officer position temporarily open at the jail, while another officer was on medical leave.121

   After being confronted with these open positions, RPSO conceded that “there were at least some

   positions that Jerry could have been qualified for,” but was not offered.122 RPSO admitted that its

   prior explanation – that “there were no vacant positions” – was “not true.”123

            These positions were all in addition to the eight-hour jail kitchen job McKinney had

   already been working in, which Warden Batiste testified would have continued but for the

   intervention of the Sheriff.124

            Why did Sheriff Hilton go to such lengths to avoid accommodating Jerry McKinney? At

   his deposition, we learned why: he is opposed to the basic idea of providing accommodations to


   117
       Ex. A at 168.
   118
       Id. at 169.
   119
       Id. at 172 (“Q. That's an opening, correct? A. It appears to be, yes, sir. Q. And jail records, we already established
   is not POST certified, correct? A. Correct. Q. Okay, and jail records doesn't require working 12 hours a day, correct?
   A. No, it does not.”); Ex. T at 110 (“Q. And this indicates that in the beginning of December of 2018 there was an
   opening in Jail Records, right? A. That's what it appears to be, yes.”) The jail records position was open until December
   6, 2020 it was filled with an outside hire, a white woman, more than a week after McKinney’s November 27, 2020
   letter seeking accommodation. Ex. T at 95.
   120
       Ex. A at 174.
   121
       Id. at 180; Ex. T at 108.
   122
       Ex. A at 185.
   123
       Id. at 186 to 187:

            Q. . . . This response says that the monthly roster was reviewed and was seen that there were no vacant
            positions, which did not require POST certification that Mr. McKinney was qualified for other than
            Corrections, and now we know that's -- that's not true, because there's at least a part-time finance position
            and a -- maybe a jail records position, correct?

            MR. RICHARDSON: Same objection.

            THE WITNESS: Yes, sir, but we also started this in November and went over the November roster because
            all of that happened before we transferred him, and then once he was transferred and he worked the few eight-
            hour days that he did, then he stopped coming to work when we told him he couldn't do the eight-hour days,
            because we do not have eight-hour shifts, that he had to work the 12s, and he stopped coming to work, and
            that's when he was terminated.

   See also Ex. B (Dep. of Warden Batiste) at 45-46 (“Q. Okay. Now, first of all, when Doug Hollingsworth said they
   don't have eight hour positions, that's not true, is it? A. No.”)

     Ex. B at 42 (“Q. And would you have continued to allow him to work those eight-hour shifts if the
   124

   Sheriff hadn't told you not to? A. Yes.”)

                                                              24
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   persons with disabilities at all. That exchange is worth reading in full. It follows verbatim, with

   only objections omitted:125

              Q.       And why couldn't you just let him keep working eight-hour shifts at the prison?
              A.       Because those are not eight-hour shifts. They're 12-hour shifts, and if we let one
                       employee take advantage of eight-hour shifts, tomorrow and the next day and the
                       next week, there are going to be other employees there wanting to work eight hours,
                       and you can't disrupt a facility like that with letting some work eight hours and
                       some 12. It's like being in the military. It's a ritual. You do everything on time. You
                       do it exactly the same every day, and we couldn't make an extension -- exception
                       for Jerry.
              Q.       Because you didn't want him to get special treatment that other people might want?
              A.       No, it's not good for him; it's not good for the department.
              Q.       Right. So it would have been I guess possible to let him work eight hours a day; it
                       just wouldn't be advisable because then other people might want to do that too. Is
                       that your answer? . . . Is that a fair summary, Sheriff?
              A.       Yes.
              Q.       Okay. Were there any other reasons why he couldn't just have kept working eight-
                       hour shifts at the -- at the jail?
              A.       I answered that earlier. It would have disrupted the operation of the department,
                       and he would have created a situation where other employees probably would have
                       felt like Jerry was getting special treatment, and you know, they just -- they don't
                       like that, and they wouldn't have treated him like any other employee. Everybody
                       has to be treated the same, and so that's how it is.

              Q.       Regardless of whether they're fully able or disabled, everyone has to be treated the
                       same?

              A.       Yes.

              Q.       Okay. So you're not going to make special accommodations for -- for someone with
                       a disability? You want everyone to be treated the same?

              A.       Yes.


              But see U.S. Department of Labor, Office of Disability Employment Policy,

   “Accommodations,” (“Reasonable accommodations should not be viewed as ‘special




   125
         Ex. A (30(b)(6) Dep.) at 108 to 110.

                                                         25
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   treatment.’”)126 Thus, Sheriff Hilton did not have a problem with Jerry’s requested accommodation

   in particular. He had a problem with the fundamental idea of accommodation. As he testified: “any

   accommodation at all would have been an undue hardship.”127 It is not necessary to prove antipathy

   for persons with disabilities; the failure to reasonably accommodate is definitionally discrimination

   under the ADA/RA. But the fact that this was discrimination on the basis of disability is clearly

   demonstrated by the fact that RPSO concedes that it has given at least one employee an eight-hour

   shift at the jail for “family issues”128 – but refused to do the same thing for an employee with a

   disability.

           RPSO took away an accommodation because they did not want McKinney to have “special

   treatment.” Summary judgment should issue.

   F.      The motion should be granted for ADA/RA retaliation because RPSO admits it fired
           Deputy McKinney for asking for and working the eight-hour shifts allowed by his
           supervisor, Warden Batiste.
           The ADA/RA makes it unlawful for any person to “intimidate, threaten, or interfere with

   any individual in the exercise or enjoyment of, or on account of his or her having exercised or

   enjoyed. . . any right granted or protected by this chapter.”129 Requesting and using reasonable

   accommodations are rights protected by that chapter.130 Thus, an “employer may not penalize an

   employee for receiving a reasonable accommodation. To do so, constitutes retaliation for the

   employee's use of a reasonable accommodation.”131




   126
       Available online at https://www.dol.gov/agencies/odep/topics/accommodations
   127
       Ex. A at 114 to 115. Emphasis added. This was echoed by Major Hollingsworth, who explained that Jerry
   McKinney should not be allowed to work the doctor-recommend eight-hour shifts because “the doctors
   don't run the Sheriff's Department.” Ex. B at 47.
   128
       Ex P at RFA 62-63 (admitting that Bobbie Duncan was assigned to eight-hour shifts at the jail “due to a family
   issue.”)
   129
       42 U.S.C. § 12203(a); 28 U.S.C § 35.134 (Retaliation & Coercion).
   130
       42 U.S.C. § 12112
   131
       [Redacted] v. Wilkie, Appeal No. 0120171549 (EEOC Federal Sector Decisions, May 17, 2019); Earl v. Potter,
   Appeal No. 01994514 (EEOC Federal Sector Decisions, May 21, 2002). See also U.S. Equal Employment Opportunity
   Commission, Employer-Provided Leave and the Americans with Disabilities Act, EEOC-NVTA-2016-1 (May 9,
   2016) (“employer may not penalize an employee” for using a reasonable accommodation”)

                                                          26
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              A claim of unlawful retaliation under the ADA/RA requires a showing that (1) the plaintiff

   engaged in an activity protected by the ADA/RA, (2) she suffered an adverse employment action,

   and (3) there is a causal connection between the protected act and the adverse action.132

              Here, Deputy McKinney engaged in an activity protected by the ADA/RA: he requested

   an accommodation of eight-hour shifts and then worked about two eight-hour shifts. RPSO

   concedes that Jerry McKinney “had the Warden’s permission to do those two eight-hour shifts,”133

   and concedes that the Warden was Jerry McKinney’s “direct supervisor.”134 As a result, RPSO

   agrees that these actions by Jerry McKinney were not “misconduct.”135

              McKinney then suffered the adverse employment action of termination.136 And RPSO

   admitted at deposition that there is a causal connection between the two: “the fact that Mr.

   McKinney worked about two eight-hour shifts rather than 12-hour shifts is the reason why he was

   fired.”137 This was corroborated by written discovery responses admitting that if McKinney had

   not worked “those eight-hour shifts, he would not have been terminated.”138 The causal connection

   was also made explicit in Sheriff Hilton’s termination letter to Deputy McKinney, as indicated by

   the subject line of the Sheriff’s letter: “RE: Request for Alternative Arrangement.”139

              Thus, RPSO admits that it did exactly what is forbidden by the ADA/RA: terminating an

   employee for requesting and using an accommodation approved by their supervisor. Retaliation


   132
       Mora v. Univ. of Texas Southwestern Med. Ctr., No. 11-10279 at *5 (5th Cir. 2012) (per curiam).
   133
       Ex. A at 87; see also id. at 85 (“Warden Batiste did allow Mr. McKinney to work a couple of eight-hour shifts”
   and it was “about two shifts.”)
   134
       Id. at 84.
   135
       Id. at 91 (“Q. . . . Was it misconduct for Mr. McKinney to ask to work eight-hour shifts and then get permission
   from Batiste to do it and then do it? Was that misconduct? A. No.”)
   136
       Ex. K (Termination Letter).
   137
       Ex. A at 87 (emphasis added).

              Q. Okay. So the fact that Mr. McKinney worked about two eight-hour shifts rather than 12-hour shifts is the
              reason why he was fired?
              MR. RICHARDSON: Let me just object. He -- he also has asked and answered that previously, William.
              THE WITNESS: Yes.
   138
         Ex. L at Response to RFA 55.
   139
         Ex. K (Dec. 19, 2018 Termination Letter).

                                                             27
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   under the ADA/RA does not require animus or ill will – it merely requires a causal connection

   between the protected activity and the adverse employment action.140 Here, that connection is

   undenied.

              It is even more abundantly clear that this was retaliation when we look at who did the

   wrong compared to who got in trouble. RPSO concedes it was not “misconduct” for “Mr.

   McKinney to ask to work eight-hour shifts and then get permission from Batiste to do it and then

   do it.”141 By contrast, RPSO testifies that “Batiste should not have done that” 142 and “that was a

   violation of his role.”143

              But who got in trouble? RPSO fired McKinney, even though what he did was not

   misconduct. Warden Batiste, however, was not “disciplined for [it]” or even “written up for it”144

   – even though it was a “violation of his role.”145

              And we know RPSO engages in retaliation. Warden Batiste testified that:




                                                                                                           146


              To sum up: RPSO admits it fired Jerry McKinney for asking for and using an

   accommodation approved by Warden Batiste. It put that in in the subject line of his termination


   140
       Mora, supra.
   141
       Ex. A at 91 (“Q. . . . Was it misconduct for Mr. McKinney to ask to work eight-hour shifts and then get permission
   from Batiste to do it and then do it? Was that misconduct? A. No.”)
   142
       Id. at 93
   143
       Id. at 103 (“Q. That that was a violation of his role? A. Yes.”)
   144
       Id. at 104 (“A. The question, was he disciplined for that? My answer is no. Q. Okay. Was he written up for it? A.
   No. Q. Okay. Was he terminated for it? A. No.”
   145
       At Ex. B at 38, Warden Batiste testified that retaliation was part of the RPSO’s normal practice:

              Q. Can you tell us who gave you that information that people were doing eight hour shifts and light duty at
              DC-2?
              A. I'd rather not say because these people still working, and if their name is out there, they'd probably lose
              their job.
              Q. Why do you say that?
              A. Because that's the way the Sheriff's Department operate.
   146
         Ex. B (Dep. of Warden Batiste) at 41.

                                                              28
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   letter. And while what Jerry did was not misconduct, he was fired for it. And what Batiste did was

   a violation of his role, but he was not even written up for it. Summary judgment should issue.

   G.      Nothing has changed. If another deputy made the same requests for accommodation
           as Jerry McKinney, she would be treated the same way.
           RPSO testified that it did not understand Jerry McKinney to be making a request for

   accommodation,147 even though his letter said “as a person with a disability under the Americans

   with Disabilities Act, I am requesting reasonable accommodation.”148 Now that it has been sued

   and retained counsel, RPSO grudgingly admits that Jerry McKinney was making a request for

   accommodation.149

           But RPSO has not done anything “to change its policies or procedures now that they

   understand that Mr. McKinney was making a request for accommodation.”150 There has not been

   any additional ADA training.151 RPSO has not “gone back to look and see if there's any other

   requests for accommodation that they may have missed like Mr. McKinney's.”152 And so if it all

   happened again, RPSO testifies that the exact same thing would happen:




   147
       Ex. A (30(b)(6) Dep.) at 49-50.
   148
       Id. at 67.
   149
       Id. at 50 (“Q. Okay, but as of today, now, you understand he was making a request for reasonable accommodation,
   correct? A. That's what his -- that's what his request is today, yes.”)
   150
       Id. at 51.
   151
       Id. at 51.
   152
       Id. at 51-52.

                                                           29
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                                                                                      153


   III.       CONCLUSION
              For the reasons stated above, summary judgment should issue.
                                           Respectfully submitted,

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   153
         Ex. A at 52.

                                                      30
